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 8
 9   Attorneys for Defendant Hankey Capital, LLC
                               UNITED STATES BANKRUPTCY COURT
10
                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
11
12
     In re
13                                                  Bk No. 2:21-bk-18205-DS
     CRESTLLOYD, LLC,
14                                                  Chapter 11
           Debtor.
15   ______________________________________         Adv. No. 2:22-ap-01125-DS
16
     INFERNO INVESTMENT, INC, a Quebec              DEFENDANT HANKEY CAPITAL, LLC’S
17   corporation,                                   REQUEST FOR JUDICIAL NOTICE IN
                                                    SUPPORT OF ITS MOTION TO DISMISS
18           Plaintiff,                             INFERNO INVESTMENT, INC.’S FIRST
     v.                                             AMENDED ADVERSARY COMPLAINT
19
20   CRESTLLOYD, LLC, a California limited
     liability company; HANKEY CAPITAL, LLC,
21   a California limited liability company; YOGI      Hearing Date:    January 26, 2023
     SECURITIES HOLDINGS, LLC, a Nevada                Hearing Time:    11:30 a.m.
22   limited liability company; and HILLDUN            Hearing Dept.:   1639
23   CORPORATION, a New York corporation,              Judge:           Hon. Deborah J. Saltzman

24           Defendants

25                                                  Action Filed: June 9, 2022
26
27
28


                DEFENDANT HANKEY CAPITAL, LLC’S REQUEST FOR JUDICIAL NOTICE
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     TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
 1
            Hankey Capital, LLC (“Hankey”) will and hereby does respectfully request that the Court take
 2
     judicial notice of the following documents attached to this Request for Judicial Notice when ruling on
 3
     Hankey’s Motion to Dismiss (“Motion”) plaintiff Inferno Investment, Inc. (“Inferno”)’s First Amended
 4
     Complaint (“FAC”):
 5
            •   Exhibit A: A true and correct copy of the Construction Deed of Trust, Security Agreement
 6
                and Fixture Filing with Assignment of Rents, filed in the official records of the Recorder’s
 7
                Office, Los Angeles County, California on November 6, 2018, reference number
 8
                20181122917.
 9
            •   Exhibit B: A true and correct copy of the Transcript of Proceedings before the Hon. Deborah
10
                Saltzman on Hankey Capital, LLC’s Motion to Dismiss Inferno Investment, Inc.’s Adversary
11
                Complaint, held on October 27, 2022.
12
            Facts properly subject to judicial notice may be used to establish that the FAC does not state a
13
     claim for relief. Intri-Plex Techs., Inc. v. Crest Group, Inc., 499 F.3d 1048, 1052 (9th Cir. 2007). Under
14
     Fed. R. Evid. 201(b), as made applicable by Fed. R. Bankr. P. 9017, the Court may take judicial notice of
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     matters that “(1) [are] generally known within the trial court’s territorial jurisdiction; or (2) can be
16
     accurately and readily determined from sources whose accuracy cannot reasonably be questioned.” Fed.
17
     R. Evid. 201(b). “A court shall take judicial notice if requested by a party and supplied with the necessary
18
     information.” Fed. R. Evid. 201(c)(2).
19
            A court can properly take judicial notice of its own records and proceedings, and court papers and
20
     pleadings filed in related litigation. United States v. Brugnara, 856 F.3d 1198, 11209 (9th Cir. 2017); see
21
     Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n. 6 (9th Cir. 2006) (taking judicial notice
22
     of transcript from prior proceedings in other courts); Estate of Blue v. County of Los Angeles, 120 F.3d
23
     982, 984 (9th Cir. 1997) (same). Court documents filed in an underlying bankruptcy case are subject to
24
25   judicial notice in related adversary proceedings and district court lawsuits. O’Rourke v. Seabord Sur. Co.

26   (In re E.R. Fegert, Inc.), 887 F.2d 955, 957-58 (9th Cir. 1989); Mullis v. Bankruptcy Ct., 828 F.2d 1385,

27   1388 (9th Cir. 1987). Courts may also take judicial notice of documents filed with the county recorder.

28   Grant v. Aurora Loan Servs., Inc., 736 F. Supp. 2d 1257, 1264 (C.D. Cal. 2010) (taking judicial notice of

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     trustee’s deed of sale recorded with Los Angeles County Recorder’s Office); Velazquez v. GMAC Mortg.
 1
     Corp., 605 F. Supp. 2d 1049, 1057 (C.D. Cal. 2008) (taking judicial notice of deed of trust recorded with
 2
     Los Angeles County Recorder’s Office).
 3
            Exhibit A is a document publicly recorded in the Recorder’s Office of Los Angeles County,
 4
     California and is therefore capable of accurate and ready determination and not subject to reasonable
 5
     dispute. Exhibit B is an official transcript of a hearing before the Court in the above captioned adversary
 6
     proceeding and as part of the Court’s own records, is a document capable of accurate and ready
 7
     determination and not subject to reasonable dispute. Thus, Hankey respectfully requests that the Court
 8
     take judicial notice of Exhibits A-B identified above.
 9
10
     DATED: December 19, 2022                     GREENBERG TRAURIG, LLP
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                                                  By /s/ Howard J. Steinberg
13                                                        Howard J. Steinberg
                                                  Attorneys for Defendant Hankey Capital, LLC
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                 UNB OJI IAID LOT 1 JL\VINO A llADlUI OF 349,13 JIJIBT; THBNC8 NOllTHIRLY 22.69
                 PDT Al.ONO IAID CURVB THROUGH A CINTRAL ANGLI OP 03' 35' -ii" 10 THI
                 BBOJNNING OP A COMPOUND CUllVB, OONCAVB SOlTl'HWB8TIIRLY AND HAVING
                 A MDJU8 OP 17$.66 PDT: TfflSNCI NORTIR¥ISTBRLY 119.U PBIT ALONG IAJD
                 CURVI TH.llOUOH A CINTRAL AN<JLIOJI Jge 0d' 5J•; THBNCI NOR.TH 56' ff' 22•
                 Wll8T 1!¥11'1181' ro THI BBOJNNJNO OP A CUllVI CONCAVB NOll'l'HBAfflRLY
                 AND HAVJNO A RADIUS OP 90.IO PDT; THBNCB NOll'IHWU'l'BILY '71.JI PBBT
                 ALONG 8AJD CUllVI THllOUOH A CBNTIALANOLBOP .t• '5'CM"; nllNCENOllTH
                 11• 41' 11" WB8T 208.55 PIBTTO Tim BBOINNJNO O'I A CUllVB CONCAVB
                 BASTEltLY AND HAVING A RADIUS OF !S.90 PBBT; THBNCINOllTHBRLY 34.44
                 PUT ALONG SAJD CURVB THROUGH A CENTRAL ANOLB OP 56' 32' 34": THBNCE
                 NOll1H 4ft 5'' 16" BAST 42.J1PBITTO THI CUAVID SOUTHBASTIIU.Y UNI OP
                 S'J'I.Al)gLLA ROAD. .0 PDT WIDE, AS SHOWN ON SAID MAP.
                 PAI\CIL2:
                 THAT ,OllTION OP LOT 3 JN BL()(% 3 OP TllACJ'NO. t745, IN THB CITY OP LOS
                 ANOBLBS, OOUNTV OP lA1 ANOBLBS, 8TATI OP CALlfORNIA, AS PBR.MAP
                 ltBC01lDBD IN BOOK 141 PAOIS t3 TOH INCWSIVB OP MAPS, JN111B OFPIC8 0,
                 THB COUNTY UCORDBll OF SAID COUNTY, LYING NORTHBRLY OP fflB
                 10U.OWlNO DBSCIUBBD LlNB:




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                 8.B(HNNJNO AT A POINT IN TRB BABTBRLY LINB OP SAID LOT, DISTANCB
                 THBllBON soum l31 13' 20" EAST 34.!3 P.BBT ROM THB NOll111BRLY TBRMINUS
                 OP THAT CBRTAJN COURSB IN SAID JLU'J'!&LY UNI SHOWN ON SAID MAP AS
                 HAVINO A BBAIUNO AND LBNOTH OP NOllffl 13' 13' 20" WIIST 106.35 PDT;
                 THBNC! NORTH 89' 27' 20" WBST 214.0? PBBT, MOM OR LBSS, TO APOJNJ' IN THE
                 W.BSTBRLY LJNIOP SAID I.OT. DISTANT SOUTHBllLY mBREON '4.93 PBETFJlOM
                 THB NORTH!llLYTBRMJNUS OP TH.AT CBllTAJN CURVE IN SAID WESTERLY LINB
                 HAVINO A LENGTH OP 115.83 PF.BT.
                 APN:43'M2U21




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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Greenberg Traurig LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): DEFENDANT HANKEY CAPITAL, LLC’S
REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ITS MOTION TO DISMISS INFERNO
INVESTMENT, INC.’S FIRST AMENDED ADVERSARY COMPLAINT will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
12/19/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
     • Kyra E Andrassy kandrassy@swelawfirm.com,
        lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
     • Todd M Arnold tma@lnbyg.com
     • Ryan Coy rcoy@bg.law, ecf@bg.law
     • Max Fabricant mfabricant@lavelysinger.com
     • Thomas M Geher tmg@jmbm.com, bt@jmbm.com;tmg@ecf.courtdrive.com
     • David B Golubchik dbg@lnbyg.com, stephanie@lnbyb.com
     • Jonathan Gottlieb jdg@lnbyg.com
     • John A Moe john.moe@dentons.com, glenda.spratt@dentons.com;derry.kalve@dentons.com
     • Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com
     • Joseph M Rothberg jmr@lnbyg.com
     • Paul Sorrell psorrell@lavelysinger.com
     • Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;howard-steinberg-6096@ecf.pacerpro.com
     • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
     • Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com

2. SERVED BY UNITED STATES MAIL:
On (date) 12/19/2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Crestlloyd, LLC, 4470 W. Sunset Blvd., #362, Los Angeles, CA 90027
Martin D Singer, Lavely & Singer Professional Corporation, 2049 Century Park East Ste 2400, Los Angeles, CA 90067

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _____, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 12/19/2022                    Terrine Pearsall                                              /s/ Terrine Pearsall
 Date                        Printed Name                                                    Signature


         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
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